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                                                                                                                  May 2, 2022


   Felippe Marcus                                                                            David M. Lee
   c/o 3205 South Parker Road, Apt. 109                                                      Corporation Counsel - The City of Buffalo
   Denver, CO 80014                                                                          1100 City Hall
                                                                                             65 Niagara Square
                                                                                             Buffalo, NY 14202

                             Re:       Felippe Marcus v. Marcus v. City of Buffalo, et al.
                                       Case No.            20-cv-316
                                       R&G File Number: 998.001

  Dear Mr. Marcus and Mr. Lee,

         As you are aware, by written order on March 29, 2022, Florina Altshiler was appointed as the
  mediator on the above referenced matter. Please note that the order directed the initial mediation
  session be held by May 13, 2022.

          After conversations and receiving confirmation from all parties involved, this matter it being
  scheduled for a mediation on Tuesday May 10, 2022, at 3:00pm eastern standard time. Plaintiff
  Felippe Marcus has requested to appear in person; thus, we will be holding the mediation at our office,
  Russo & Gould LLP, located at 12 Fountain Plaza, Suite 600, Buffalo, NY 14202. A Zoom meeting
  link will also be available if Defendant, The City of Buffalo does not wish to be present in person.

         If you have any questions or concerns, please contact Ms. Altshiler at 716-800-6389 or by
  email faltshiler@russogould.com.

                                                                                                Respectfully submitted,


                                                                                                         /s/        Wade H. Kornegay
                                                                                                Wade H. Kornegay
                                                                                                Paralegal for Mediator Florina Altshiler, Esq


  CC:         via ECF –
              U.S. District Court, Western District of New York (Buffalo) - Hon. Leslie G. Foschio
_______________________________________________________________________________________________________
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